                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                          Motion DENIED as
                                 NASHVILLE DIVISION                                   MOOT.

UNITED STATES OF AMERICA                       )
                                               )
                                               )
       v.                                      )        No. 3:13-00153-1
                                               )        JUDGE TRAUGER
                                               )
DORIAN AYACHE                                  )

                  DEFENDANT’S MOTION TO DISMISS COUNT 2 OR 3
                        AND FOR A BILL OF PARTICULARS

       Defendant Dorian Ayache moves for dismissal of Count 2 or 3, or for such relief as

appropriate, because the Indictment suffers from multiplicity. He also seeks a bill of particulars

because two of the four dates stated in the indictment for Counts 2 and 3 do not correspond to

dates in Yahoo data or significant events.

                                             Background

       Section 1512(c)(1) of Title 18 states that one unlawfully obstructs justice if one corruptly

“alters, destroys, mutilates, or conceals” a document with the intent to impair its availability for

use in an official proceeding. In preparation for grand jury proceedings, the government

subpoenaed certain emails from Ayache. According to the government, Ayache deleted certain

emails from his Yahoo account instead of producing them. It is unknown to Ayache whether the

government believes he deleted them in one sitting or in several.

       For this alleged misconduct, the government has brought two charges that split

§ 1512(c)(1) into two separate charges with overlapping date ranges, as follows.

       •       Count 2 charges that Ayache did corruptly “alter, destroy, and mutilate” emails

               stored with Yahoo between May 9 and July 8, 2013.




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